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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 HEIKO P. COPPOLA
   MATTHEW D. SEGAL
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00205-TLN-EFB

12                                Plaintiff,             [PROPOSED] ORDER GRANTING STAY

13                          v.                           DATE: TBD
                                                         TIME: 9:00 a.m.
14   MATTHEW MULLER,                                     COURT: Hon. Edmund F. Brennan
15                                Defendants.

16

17          Having reviewed and considered the motion of the United States’ motion, it is hereby

18 ORDERED that any opposition by the United States in response to defendant’s Motion to Amend

19 Motion to Vacate Sentence (ECF 75), First Amended Supplement to Motion to Vacate Sentence (ECF

20 77); and litigant letter (ECF 78) is stayed until the assigned District Judge has ruled on the Court’s
21 Findings and Recommendations.

22

23    Dated:

24                                                           EDMUND F. BRENNAN
                                                             United States Magistrate Judge
25
                                                                 ______________________
26

27

28


      ORDER GRANTING STAY                                1
